









 02-10-433-CV














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COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH

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NO. 02-10-00433-CV 

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  In re Dominic Tomlinson
  
  
  &nbsp;
  
  
  RELATOR
  
 


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ORIGINAL PROCEEDING

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MEMORANDUM OPINION[1]

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; ------------

The
court has considered relator’s petition for writ of
mandamus and is of the opinion that relief should be denied.&nbsp; Accordingly, relator’s
petition for writ of mandamus is denied.

PER CURIAM

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PANEL:&nbsp;
MEIER, J.; LIVINGSTON, C.J.; and GABRIEL, J.

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LIVINGSTON, C.J., would request a response.

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DELIVERED:&nbsp;
December 8, 2010











&nbsp;&nbsp;&nbsp; &nbsp;[1]See
Tex. R. App. P. 47.4.







